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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                       CASE No. 14-23388-CIV-MOORE/MCALILEY

   ORLANDO ESTRADA,

         Plaintiff,

  v.

  FTS USA, LLC.

         Defendant.
  ______________________ /
          REPORT AND RECOMMENDATION REGARDING SANCTIONS

         Some time ago Defendant, who prevailed in this action, asked the Court to

  sanction Plaintiff and his counsel under Federal Rule of Civil Procedure 11. I

  recommended to presiding District Court Judge K. Michael Moore, that the Court

  sanction Plaintiff's counsel, Jamie H. Zidell, and his law firm J.H. Zidell, P.A., under

  Rule 11, for their filing of an objectively frivolous Complaint. [DE 78]. Judge Moore

  adopted that recommendation. [DE 85]. Because the parties had not yet addressed, and

  the Court had not yet considered, what sanctions might be appropriate, Judge Moore

  ordered the parties to brief that issue [!d.], and they did. [DE 86, 92]. The matter is before

  me once again, to recommend appropriate sanctions. [DE 91].

         I have thoroughly reviewed the record, the parties' memoranda and the applicable

  law. For reasons I explain, it is especially difficult in this case to devise a sanction that

  the Court, with any confidence, believes will deter Plaintiff's counsel from repetition of

  the sanctioned conduct. In the end, I recommend that the Court order Mr. Zidell and his
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   law firm to pay Defendant $60,000 which represents attorneys' fees Defendant

   reasonably incurred in defending the frivolous Complaint.

   I. Background

          The parties hotly contested whether the Court should sanction Plaintiff or his

   counsel. The Report and Recommendation ("R&R") I issued on January 23, 2018,

   explored that question in detail. [DE 78]; Estrada v. FTS, No. 14-23388-CIV-

   MOORE/MCALILEY, 2018 WL 1836007 (S.D. Fla. Jan 23, 2018). The Court resolved

   that debate and although Plaintiffs counsel continues to argue that their conduct was not

   improper, that question is closed. The Court here presumes familiarity with the R&R, and

   the Order that adopted it. I do, however, briefly recap Plaintiffs counsel's improper

   conduct, along with key events in this lawsuit that underlie my assessment of appropriate

   sanctions.

          On September 15, 2014, Plaintiffs counsel filed a Complaint charging Defendant,

   Plaintiffs former employer, had not paid any overtime wages to which Plaintiff was

   entitled under the Fair Labor Standards Act ("FLSA"). Specifically, the Complaint stated

   that Defendant "never paid the extra half time rate for any hours worked over 40 hours in

   a week as required by the" FLSA. [DE 1, p. 3,   ~   13] (emphasis added). This was quickly

   shown to be false. Specifically, on October 28, 2014, less than six weeks after Plaintiff

   filed suit, Defendant provided Plaintiffs counsel with Plaintiffs weekly Time Sheets and

   his Earnings Statements, which documented Plaintiffs having worked a weekly average

   of 7.3 hours of overtime, and Defendant's having properly paid Plaintiff those overtime

   wages. [DE 12; DE 74, p. 5].

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          Just a few weeks later, on November 19, 2014, the Court stayed this action upon

   receipt of Defendant's Suggestion of Bankruptcy. [DE 15, 17]. This lawsuit did not move

   forward again until a year later, on December 1, 2015, when the Court lifted the stay. [DE

   20]. After an unsuccessful settlement conference, the Court issued a Scheduling Order in

   March of 2016 [DE 37], pursuant to which the parties engaged in limited discovery, in

   June and July 2016. [See DE 86, pp. 3-4]. They did not issue written discovery, but they

   took one another's depositions. [!d.]. In particular, Defendant deposed Plaintiff on July

   28, 2016. At his deposition Plaintiff verified his signature on his Time Sheets and

   confirmed that he received the overtime wages documented in his Earnings Statements.

   [See id. atp. 10].

          A few days after Plaintiffs deposition, on August 3, 2016, Defendant served on

   Plaintiff a draft motion for sanctions under Rule 11, [DE 52-5], in compliance with the

   Rule's 21-day safe harbor provision. Fed. R. Civ. P. ll(c)(2). In the midst of that safe

   harbor period, on August 26, 2016, Defendant filed what turned out to be a successful

   Motion for Summary Judgment. [DE 48, 49]. Once the safe harbor period expired

   without Plaintiff having withdrawn or corrected the Complaint, Defendant filed its

   Motion for Sanctions with the Court. [DE 52]. Not long after, the Court entered summary

   judgment in favor of Defendant, which Plaintiff appealed. [DE 59, 60]. The Court stayed

   the Motion for Sanctions pending appeal. [DE 62]. When the Court of Appeals affirmed

   the judgment for Defendant, Defendant filed its Renewed Motion for Sanctions [DE 68,

   70].



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          As noted, the Court granted that Motion. [DE 78, 85]. In a nutshell, the Court

   found that ( 1) Plaintiffs allegation that he was "never" paid any overtime wages for "any

   hours worked over 40" was objectively frivolous, (2) that Mr. Zidell and his firm did not

   make a reasonable pre-suit inquiry into the factual basis for that claim, and had they done

   so, they would have learned that this claim was frivolous, and (3) that Mr. Zidell and his

   firm (not the Plaintiff) should be sanctioned for their failure to meet their obligations

   under Rule 11. [Jd.].

   II. The Court's broad discretion

          Rule 11 vests the Court with broad discretion to determine appropriate sanctions.

   Donaldson v. Clark, 819 F.2d 1551, 1557 (11th Cir. 1987). Courts may impose monetary

   and nonmonetary sanctions; this may include "payment to the movant of part or all of the

   reasonable attorney's fees and other expenses directly resulting from the violation." Fed.

   R. Civ. P. 11 (c)(4 ). Sanctions "must be limited to what suffices to deter repetition of the

   conduct or comparable conduct by others similarly situated." !d. The Eleventh Circuit has

   noted that "the sanctions most commonly imposed are costs and attorneys' fees."

   Donaldson, !d.

          The Advisory Committee Note to the Rule states that the Court "has discretion to

   tailor sanctions to the particular facts of the case, with which it should be well

   acquainted." Advisory Committee Notes to Rule 11, 1983 Amendment. The Advisory

   Committee identified these factors courts might consider:

          •   whether the conduct was willful or negligent;
          •   whether it infected the entire pleading, or only one particular count or defense;


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             •   whether the person has engaged in similar conduct in other litigation;
             •   whether it was intended to injure;
             •   what effect it had on the litigation process in time or expense;
             •   whether the responsible person is trained in the law;
             •   what amount, given the financial resources of the responsible person, is needed
                 to deter that person from repetition in the same case;
             •   what amount is needed to deter similar activity by other litigants.

   Advisory Committee Notes to Rule 11, 1993 Amendment.

   III.      Analysis

             Defendant argues that the Court should order Plaintiffs counsel to compensate

   Defendant for all attorneys' fees it incurred in defending this action. [DE 86, pp. 7, 11].

   Defendant notes that the Rule expressly authorizes, as a sanction, payment to Defendant

   of attorney's fees that "directly result[] from the violation." Fed. R. Civ. P. ll(c)(4).

   Defendant argues, not unreasonably, that all of its fees were a direct result of Plaintiffs

   objectively frivolous one-count Complaint [see DE 86, pp 5-7], and I address this further

   below.

             But first, I turn to the arguments Plaintiffs counsel make urging that Defendant's

   proposed sanction is excessive, and that this Court should impose no sanction at all.

          A. The scope of the sanctioned conduct

             Plaintiffs counsel start by claiming that the sanctioned conduct is "very narrow"

   as it "only concern[s] one of the allegations in the Complaint (i.e. the allegation that

   Plaintiff was never paid overtime, as opposed to the allegation that Plaintiff was not

   being paid overtime correctly)." [DE 92, p. 3, see alsop. 6] (emphasis in original). This

   falsely characterizes the Complaint. The three-page Complaint makes but one claim, in



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   paragraph 13: that Defendant "never paid the extra half time rate for any hours worked

   over 40.'' [DE 1, p. 3,   ~   13]. It does not include an alternative claim that Defendant paid
                                            1
   some, but not all, overtime wages. It is troubling, particularly at this stage in these

   sanction proceedings, that Plaintiffs counsel misrepresent their Complaint.

       B. The timing of Defendant's Motion for Sanctions

          Plaintiffs counsel also argues the Court should not sanction them because

   Defendant unjustly filed its Motion for Sanctions too late in the lawsuit. Specifically,

   Plaintiffs counsel writes:

          Defendant served its Rule 11 Motion initially on September 2, 2016. [DE
          52] -almost two years after this case was initially filed in 2014 and after
          Defendant's bankruptcy concluded. At said time, the deadline to amend
          pleadings as set forth in the Court's Scheduling Order [DE 37] had well
          passed (6/12/16). It appears that Defendant did so strategically and
          transparently, and waited until after the Plaintiffs deposition, and also after
          the discovery deadline passed on 8/8/16, and in addition Defendant violated
          the pretrial motion deadline by filing the motion for sanctions beyond same.

   [DE 92, p. 2; see also DE 92 pp. 6-7 (repeating argument)]. There are a number of

   problems with this reasoning. To begin, the reference to a two-year period ignores the

   fact that the Court stayed the lawsuit for one of those years. The criticism that Defendant

   filed the Motion after the deadline for amending pleadings recycles an argument Plaintiff

   made before (i.e., that by the time Defendant filed its Motion for Sanctions Plaintiff could




   1
     The remainder of the Complaint has boilerplate allegations, with the sole exception of
   paragraph 8, which states: "Plaintiff worked for Defendant as a cable box technician from on or
   about October 10,2012 through on or about March 24, 2014."


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   not remedy his error because he could no longer amend his Complaint), that the Court

   squarely rejected. 2

          Further, Plaintiff's counsel's supposition that Defendant "strategically and

   transparently" waited to file its Motion for Sanctions until after Plaintiff's deposition and

   the conclusion of the discovery period implies, but does not expressly state, that

   Defendant improperly waited to file the motion until a time when Plaintiff was unable to

   correct its false Complaint. The implication is that Defendant engaged in some kind of

   gamesmanship that militates against the imposition of sanctions. Again, Plaintiff's

   counsel are off the mark. Defendant explained the timing of the filing of its Motion for

   Sanctions: it wanted to question Plaintiff at his deposition to learn whether Plaintiff had

   any other support for his claim that he never was paid any overtime wages, which he did

   not. [DE 86, p. 9-1 0]. Promptly after this deposition, Defendant gave notice of its

   intended Rule 11 motion. On this record, Defendant's approach was cautious and

   reasonable. Motions for sanctions under Rule 11 level serious claims, and too often they

   are filed before there is a clear record to support the motion. The timing of Defendant's

   filing of the Motion was not improper.

          Lastly, Plaintiff's counsel's criticism that the Motion for Sanctions was somehow

   improper because Defendant filed it after the pretrial motion deadline is also inapposite. 3
   2
     After I issued the R&R, Plaintiff filed a Motion for Reconsideration, in which he made this
   argument. [DE 79]. I denied that Motion and noted that Federal Rule of Civil Procedure 15(a)(2)
   allows for liberal amendment of pleadings, something Plaintiff never asked of the Court. [DE 80,
   p. 3, n. 4]. Plaintiffs counsel again made this argument in their objections to the R&R, which the
   Court again rejected. [DE 85, p. 2-3]. Plaintiffs counsel's unfortunate practice of repeating
   arguments that the Court has already resolved is a drain on the Court's resources and it
   unnecessarily prolongs these proceedings.


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  The time for Plaintiffs counsel to object to the timeliness of the Motion was when

  Defendant filed the Motion, not now. They did not do so. [See DE 56].

         Plaintiff relies on Peer v. Lewis, 606 F .3d 1306 (11th Cir. 201 0), as authority for

  this Court finding Defendant's motion untimely. [DE 92, p. 7]. There, the Court held that

  the trial court should have denied as untimely an otherwise meritorious Rule 11 motion

  for sanctions, which was directed at the complaint in that case. The Peer Court relied

  upon this comment in the Advisory Committee Notes to the 1993 Amendment to Rule

  11: "[ o]rdinarily the motion should be served promptly after the inappropriate paper is

  filed." !d. at 1313. Importantly, the Court of Appeals in Peer did not find that the moving

  party should have filed its Rule 11 motion promptly after Plaintiff filed the complaint.

  Rather, it concluded that it was not until six months later that the moving party "had all

  the pertinent information'' that supported the sanctions motion, and it was then that the

  moving party should have filed the motion. !d. 4

         Plaintiffs counsel's series of arguments critiquing the timing of Defendant's

  Motion implies that if Defendant had only filed its Motion earlier, then Plaintiffs counsel

  would have known to file an amended complaint and could have avoided sanctions. Put

  differently, Plaintiffs counsel suggest that Defendant unfairly prejudiced them by not


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   Defendant filed the Motion for Sanctions on September 2, 2016 [DE 52], seven days after the
  deadline for filing pretrial motions. [DE 37]. As noted, Defendant served a draft of that Motion
  on Plaintiffs counsel weeks earlier.
  4
   Notably, the Eleventh Circuit has upheld the filing of a Rule 11 sanctions motion at the very
  end of litigation, where the movant acted "promptly upon discovering a basis for doing so" and
  where it was apparent that the sanctioned party was not prejudiced by the timing of that motion.
  Baker v. Alderman, 158 F.3d 516, 522-23 (11th Cir. 1998).


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  filing the Motion for Sanctions earlier and that for this reason, the Court should not order

  them to pay Defendant's attorneys' fees.

            In truth, Plaintiffs counsel were free to amend the Complaint as "a matter of

  course" until 21 days after Defendant answered, which did not happen until April 28,

  2016, a year and a half after they filed the Complaint. [DE 42]. See Fed. R. Civ. P.

   15( a)(1 )(B). 5 And, importantly, six weeks after they filed the Complaint Plaintiffs

  counsel had the documents to prove that the sole theory of their overtime wage claim

  (that Defendant paid no overtime wages) was false. Plaintiffs counsel could have easily

  corrected the false statement in the Compliant, by amendment, or otherwise.

            Plaintiffs counsel's critique of the timing of Defendant's motion improperly

  attempts to shift to Defendant a responsibility that squarely belonged to Plaintiffs

  counsel.

            Plaintiffs counsel also makes this argument:

           [E]ven if the Complaint was amended to change the phrasing from "never"
           to, for example, "some but not all" or that Plaintiff was paid "improperly"
           (notwithstanding Plaintiffs position regarding the piece rate), such would
           have had no impact on the amount of legal work defense Counsel had to
           perform - Defendant has never demonstrated otherwise. Since Defendant
           has not and cannot show any noticeable increase in fees (because Plaintiff
           did not amend the Complaint), any fees awarded should be significantly
           reduced (although it is rather appropriate to award none at all.)

  [DE 92, pp. 3-4](footnote omitted). In other words, had Plaintiffs counsel amended the

  complaint to comport with Rule 11, Defendant would have defended that lawsuit and



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      As already noted, Plaintiff could have sought leave to amend thereafter.


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   been responsible for (at least some of) the fees it incurred here. Thus, the reasoning goes,

   Plaintiffs counsel's improper complaint did not really harm Defendant.

          The problem with this is, first, Plaintiff did not amend the Complaint or otherwise

   retract its false claim. Plaintiffs counsel did assert an alternative theory of overtime
                                6
   liability late in the lawsuit, which it could have pled at the outset. This does not excuse

   Plaintiffs counsel's failure to make a reasonable pre-suit inquiry. If the Court were to

   adopt Plaintiffs counsel's reasoning, it would gut the certification requirement of Rule

   11 (b), and give a green light to the careless filing of pleadings. Essentially, it would free

   lawyers and parties of their obligations under the Rule, if they could show that they could

   have done better.

          Plaintiffs counsel's argument also overlooks the fact that their failure to withdraw

   their false claim left Defendant no choice but to defend against it, and the Court to

   adjudicate it; a waste of Defendant's and the Court's resources. 7




   6
     Plaintiffs response to Defendant's summary judgment motion contended Defendant's time
   records were incomplete and did not account for some of the overtime hours Plaintiff worked,
   and that Defendant paid Plaintiff some, but not all, overtime wages. [DE 53]. Although his July
   28, 2016, deposition testimony was inconsistent on this point, Plaintiff made this claim at that
   time too. [DE 54-2].Weeks later, after Defendant had filed its Motion for Sanctions and Motion
   for Summary Judgment, Plaintiff signed an affidavit that claimed, in essence, that Defendant did
   not pay all overtimes wages due Plaintiff. [DE 54-3].
   7
    When the Court evaluated summary judgment, it plainly believed that Plaintiff had not
  abandoned his claim that Defendant never paid him any overtime. [See DE 59, at pp. 3, 4, 5].
  The Court addressed that claim, along with the alternative argument expressed in the summary
  judgment response that Defendant underpaid overtime wages due Plaintiff. [/d.].


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       C. "Lesson learned" and "already punished"

          Mr. Zidell and his law firm make another series of arguments why the Court

   should not order them to pay monetary sanctions: first, they have already learned their

   lesson, and second, the R&R and the Order adopting it amount to a reprimand, also

   Plaintiffs counsel were not compensated for their work, and this is punishment enough.

          As for the first argument, Mr. Zidell wrote:

          the lesson is learned as to the manner of pleading expected by this Court,
          concerning claims such as Plaintiffs ... in light ofthe Court's ruling in the
          case at bar, the undersigned Firm has changed its protocol with respect to
          the drafting of complaints, and it [sic] making a concerted effort to ensure
          that the "never" language is not used at the beginning of the case (unless
          such allegation appears to be the only alternative to accurately allege the
          claim.)

   [DE 92, p. 4]. It appears that Mr. Zidell has learned nothing.

          The Court's Order did not, in any measure, hold that a Plaintiff who brings an

   FLSA action may not allege that s/he was never paid overtime or minimum wages.

   Rather, the Court enforced counsel's obligation to "make a reasonable inquiry into both

   the legal and factual basis of a claim prior to filing suit [and it found that] [a]bsent

   [certain] extenuating circumstances, an attorney cannot simply rely on the conclusory

   representations of a client. ... "[DE 78, quoting Worldwide Primates Inc. v. McGreal, 87

   F.3d 1252, 1255 (11th Cir. 1996)] (footnote omitted). Specifically, Plaintiffs counsel's

   singular reliance on what their client evidently told them 8 was not a reasonable inquiry.




   8
     The only information Plaintiffs counsel gave the Court about the basis for their claim, was
   their client's statement to them. [See DE 78, p. 10, citing DE 73, p. 12].


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           In their memorandum, Plaintiffs counsel did not acknowledge that a reasonable

    pre-suit inquiry requires investigation beyond the uncorroborated word of their client, nor

    have they identified any procedures the Law Firm has instituted to ensure that it does this

    in the future. The Court noted that Plaintiffs counsel easily could have asked Defendant

    for a copy of Plaintiffs wage and time records before they filed suit, as this would have

    been a reasonable inquiry into the merits of their client's claim. [DE 78, p. 8-9; DE 85].

    By their silence, it appears that Plaintiffs counsel have no intention of instituting such a

   practice. Mr. Zidell 's one "lesson learned" -- a ban on the word "never" -- does not

    address the problem.

           Next, Mr. Zidell wrote that "the significant uncompensated legal work that had to

    be performed on this issue has acted as a deterrent." [DE 92, p. 9]. He added that the

   "R&R and Order have already admonished and reprimanded the undersigned" thus,

    eliminating the need for any other sanction. [!d.; see also at 8, 10, 11].

           In fact, multiple judges on this Court have repeatedly sanctioned Plaintiffs

    counsel for similar misconduct. In those cases Plaintiffs counsel were "reprimanded,"

   and presumably they were not compensated. This did not deter the misconduct here.

       D. This Court has sanctioned Plaintifrs counsel multiple times

           Most recently, Judge Scola ordered Mr. Zidell, and his client, to pay "the entire

   amount of reasonable attorney's fees and costs incurred by Defendants since the

   inception of the [FLSA action]." Silva v. Pro Transport, Inc., Case No. 15-23028-Civ-




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   Scola, 2017 WL 2189620, at *2 (S.D. Fla. May 18, 20 17). 9 The Court entered this order

   as a sanction under Rule 11 "for misrepresentations to the Court and failure to conduct

   even a de minimus [sic] inquiry into the facts or law informing this case." /d. 10 In that

   Order, the Court noted, with obvious frustration, that "Zidell continues, inexplicably, to

   miss the point of the sanctions proceedings." ld.                   Notably, the Report and

   Recommendation of Judge Otazo-Reyes, in which she found that Mr. Zidell should be

   sanctioned under Rule 11 for failing to make an adequate pre-suit investigation, was

   issued on August 29, 2016, before Defendant filed its Motion for Sanctions in this case.

   Silva, Case No. 15-23028-Civ-Scola, DE 61 (Aug. 29, 2016).

             Earlier, in 2006, in another FLSA action, Judge Martinez ordered Mr. Zidell to

   pay the defendant $7,937.03 for attorneys' fees, as a sanction under 28 U.S.C. § 1927,

   because he "acted recklessly by preparing false [interrogatory] responses" for

   approximately 20 of his clients. Medina v. 3C Construction Corp., Case No. 02-23090-

   Civ-Martinez/Torres, 2006 WL 8434953, at *3 (S.D. Fla. Oct. 27, 2006), Report and

   Recommendation adopted, Case No. 02-23090, 2007 WL 9706352 (S.D. Fla. May 18,

   2007).



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       That amount is $51,201.77. !d. at *4.
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     The Court also relied upon its inherent authority and 28 U.S.C. § 1927, as authority for these
   sanctions. Id. In an earlier Order that also addressed these sanctions, the Court was clear that Mr.
   Zidell "completely ignores the requirements of Rule 11 to conduct a reasonable inquiry of facts
   and law before filing a pleading .... [R}elying on a client's representations does not obviate the
   requirement that an attorney conduct basic legal and factual inquiry. . . ." Silva v. Pro
   Transport, Inc., Case No. 15-23028-Civ-Scola, DE 65, at p. 2 (S.D. Fla. Sept. 30, 2016)
   (emphasis added).


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          In 2012, agam, well before Plaintiffs counsel filed this case, Judge Donald

   Graham sanctioned Mr. Zidell under 28 U.S.C. § 1927, with an order that he pay $8,340

   in defense legal fees. Rodriguez, eta!. v. Marble Care Int'l., Inc., 863 F. Supp. 2d 1168,

   1171 (S.D. Fla. 2012). The Court found that Mr. Zidell failed to conduct an adequate pre-

   suit inquiry before he filed that FLSA lawsuit. The Court found that Plaintiffs

          filed their claim anyway, sought to take irrelevant discovery in order to
          impose financial pressure on Defendants and persisted in prosecuting the
          claim even though they never had the necessary evidence to establish FLSA
          jurisdiction and ignored unrebutted evidence demonstrating that
          [Defendant] was not subject to the FLSA claim.

   !d. at 1182.

          Later, Judge Bloom dismissed, as a sanction, an FLSA action Plaintiffs counsel

   filed. Aguilar v. United Floor Crew, Inc., Case No. 14-civ-61605, 2015 WL 2415421 at*

   13 (S.D. Fla. May 21, 2015). 11 She did so because the plaintiff there repeatedly and

   willfully misidentified himself to the Court. Although the Court dismissed the lawsuit

   because of the plaintiffs misconduct, it plainly was troubled by Plaintiffs counsel's

   behavior:

          Curiously, [Plaintiffs] counsel neglected to ask Plaintiff for a current, valid
          form of identification when faced with the expired Florida I.D .... This
          was after it was revealed that his client had used a false identity and forged
          documentation both for employment purposes and to support this litigation.
          Nor did counsel conduct any inquiry on their own. Taking merely
          Plaintiffs word, counsel notified Defendants and the Court in late
          December, 2014, that Plaintiffs real and full name was 'Manuel Antonio
          Aguilar,' and proceeded with the case as if it were.


   11
      There, the Court relied on Rule 41 (b), as authority to dismiss a lawsuit where "the plaintiff
   fails to prosecute or comply with these rules." Jd. at *7; see Fed. R. Civ. P. 41(b).


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   !d. at *9. The Court further observed:

             It also bears noting that counsel for Plaintiff are no strangers to discovery
             sanctions and Rule 41 (b) dismissal. This is not the first time Plaintiffs
             counsel unsuccessfully defended their actions and their clients' from such
             meritorious accusations. Or even the second. In Rodriguez v. Marble Care
             Int'l. Inc., 863 F. Supp. 2d 1168 (S.D. Fla. 2012), the same lawyers who
             appear for Plaintiff here were sanctioned for failing to engage in proper pre-
             and post-suit investigation, resulting in the filing and maintenance of a
             frivolous FLSA case. In Gonzalez v. Bus. Representation Jnt'l. Inc., 248
             F.R.D. 644 (S.D. Fla. 2008), the plaintiff - represented by the same
             attorneys who appear for Plaintiff here - engaged in obstruction of and
             denied access to discoverable evidence, resulting in dismissal without
             prejudice pursuant to Rule 41 (b).

   !d. at* 12.

             Most recently, Judge Goodman sanctioned J.H. Zidell, P.A., and one of its

   attorneys (not Mr. Zidell), under Rule 11 for their continued reliance on an incorrect legal

   theory and their failure to rescind incorrect exhibits they had submitted in support of their

   summary judgment motion. Collar v. Abalux, Inc., et al., Case No. 16-20872-CIV-

   LENARD/GOODMAN, 2018 WL 3328682, at *22 (S.D. Fla. Jul. 5, 20 18). Judge

   Goodman found that Plaintiffs counsel there should pay the attorneys' fees the

   defendants incurred after the sanctioned conduct, although the Court has not yet decided

   the amount of those fees.ld. at *23. 12

         E. What will deter Plaintifrs counsel?

             This is a troubling record of repeated misconduct by Mr. Zidell and his law firm. 13

   The Court has no reason to believe they have "learned their lesson" and it has little hope

   12
        That Order directed the defendants to provide the Court with documentation of those fees. !d.
   13
     In their memorandum, Plaintiffs counsel treat these prior sanctions orders as irrelevant to this
   matter, because "[n]one of [them] involved a particularized Rule 11 finding limited to a specific

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   that this Court's earlier order, that found Plaintiffs counsel violated Rule 11 in this case,

   standing alone, will lead them to conduct reasonable pre-suit investigations in the future.

   Other judges have sanctioned Plaintiffs counsel for their failure to do exactly this, and

   yet, here we are again. Although I recommend that the Court order Plaintiffs counsel to

   pay Defendant's reasonable attorneys' fees, it seems nai've to expect that this alone will

   have the deterrent effect that is the goal of Rule 11 sanctions.

              It is difficult to devise a sanction, short of possibly some form of injunctive
             14
   relief,        which the Court might reasonably expect would "deter repetition of the conduct."

   Fed. R. Civ. P. ll(c)(4). It appears that the multiple court orders directing Mr. Zidell and

   his firm to pay defense counsel fees may be a cost of their doing business, which is

   outweighed by the economic rewards of careless complaints.

              Available records show that the Zidell law firm has filed 1,905 lawsuits with this

   Court, almost all on behalf of plaintiffs bringing FLSA claims. The Firm, and other

   attorneys who represent FLSA plaintiffs, benefit enormously from the widespread

   practice of the judges on this Court of referring FLSA cases to an early settlement




   and single allegation in the Complaint." [DE 92, p. 11]. It is worrisome that Plaintiffs counsel
   does not understand that judges on this Court have sanctioned them for exactly the same
   conduct: failing to make an adequate pre-suit inquiry and for otherwise not devoting sufficient
   attention to the veracity of information they have provided opposing counsel and the court. This
   history is highly relevant given the Advisory Committee's guidance that courts consider whether
   the sanctioned party had "engaged in similar conduct in other litigation," when determining
   appropriate sanctions. Advisory Committee Notes to Rule 11, 1993 Amendment.
   14
     This might include a pre-suit filing requirement in future lawsuits. Alternatively, the Court
   might refer Plaintiffs counsel to the Court's Ad Hoc Committee on Attorney Admissions, Peer
   Review, and Attorney Grievance.

                                                     16
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   conference before a Magistrate Judge. 15 The parties settle many of these lawsuits at this

   early stage with payment to the plaintiff, along with attorneys' fees to plaintiffs' counsel.

   This happens, in significant measure, because the FLSA's prevailing plaintiff attorneys'
                     16
   fee provision          creates a powerful economic incentive for defendants to settle these

   claims. It appears to this Court that, as a business practice, plaintiffs' counsel perceive

   little incentive to devote much effort to drafting these complaints, as even the most bare-

   bones complaints stand a good chance of leading to an early settlement for the plaintiff,

   and an award of attorneys' fees for plaintiff's counsel. This context may explain why

   prior sanctions orders have not "deterr[ed] repetition of the conduct." Fed. R. Civ. P.

   ll(c)(4).

             With these mtsgtvmgs that any amount of a monetary sanction will provide

   "effective deterrence" 17 I recommend that, at a minimum, the Court order Plaintiff's

   counsel to pay Defendant an amount that represents the attorneys' fees Defendant

   reasonably incurred in defending this action.




   15
     Typically, those settlement conferences occur often before the defendant has filed an answer,
   and certainly before the discovery process. This practice is an exception to the standard practice
   of this Court requiring civil litigants to engage in mediation with a private mediator, at their own
   expense, typically near the close ofthe discovery process. See S.D.Fla. L.R. 16.2(d)(l).
   16
        Title 29 U.S.C. §216(b).
   17
        Fed. R. Civ. P. ll(c)(4).


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   IV. Reasonable attorneys' fees

        A. The record

          In the memorandum Defendant filed, addressing appropriate sanctions, it asked

   that Plaintiffs' counsel compensate it for $123,715.00 in attorneys' fees it incurred

   defending this lawsuit before this Court and the Court of Appeals. [DE 86, pp. 7, 11]. 18

   Defendant did not file any billing records with that memorandum to support that number.

          In response, Plaintiff correctly noted that this Court has no authority under Rule 11

   to order Plaintiffs counsel to pay fees incurred before the Court of Appeals. [DE 92, p.

   4-5]; see Cooter & Gel! v. Hartmarx Corp., 496 U.S. 384, 406-09 (1990). Plaintiff also

   noted that Defendant included in its Motion for Sanctions and Renewed Motion for

   Sanctions, an alternative argument to its claim that Plaintiff should be sanctioned under

   Rule 11: that this Court should sanction Plaintiff under Florida Statute § 57.105. The

   Court found earlier that this argument was plainly without merit, as this Court is solely

   operating here under federal question jurisdiction. [DE 78, p. 3]. The Court agrees with

   Plaintiff that it would be unjust for Defendant to recover any attorneys' fees it incurred

   making this argument. 19



   18
      Although Rule 11 authorizes an award of attorneys' fees "and other expenses," only fees are at
   issue here, as the Court earlier awarded Defendant, pursuant to Rule 54 (d), Fed. R. Civ. P.,
   $3,028.50 for its costs. [DE 77, 84].
   19
      It is disappointing that Defendant's counsel would be so careless themselves in making an
   argument for sanctions that plainly had no foundation. The same is true for their uninformed
   contention that this Court should award Defendant the attorneys' fees it incurred before the Court
   of Appeals. The Court takes this into consideration in its substantial reduction of Defendant's
   claimed fees.


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           I ordered Defendant to file its billing records but to "exclude any fees Defendant

   incurred in connection with Plaintiffs appeal" and to "clearly identify on its billing

   records those attorneys' fees Defendant incurred arguing in its Motion for Sanctions [DE

   52] Renewed Motion for Sanctions [DE 70], and in any reply memorandum or elsewhere,

   that this Court should sanction Plaintiff pursuant to Florida Statute §57.105." [DE 93].

          Defendant filed those billing records, and as directed, it excluded fees it incurred

   in defense of Plaintiffs appeal. [DE 94]. It did not, however, identify the time it devoted

   to making (and defending) its argument for sanctions under Florida Statute §57.105.

   Instead, it identified (by highlighting) all fees that it states are "related to" its Motion for

                                                                       °
   Sanctions and Renewed Motion for Sanctions. [!d. at p. 1]. 2 From my review of those

   billing records, it appears that the highlighted entries encompass all fees Defendant

   incurred related to litigation over its sanction motion, which totals approximately

   $38,000. Thus, that $38,000 of claimed attorneys' fees includes both attorneys' fees

   incurred making Defendant's successful argument for sanctions under Rule 11 and its
                                                                           21
   meritless argument for sanctions under Florida Statute §57 .1 05.

          Defendant did not total the fees documented in its billing entries. 22 I have done so,

   several times, and believe that, in addition to the $38,000 of fees referenced above,

   20
      The Renewed Motion for Sanctions is a refiling of the original Motion for Sanctions that
   includes a brief introductory update. [Compare DE 52 and DE 70].
   21
     When a court imposes payment of reasonable attorneys' fees as a monetary sanction under
   Rule 11, the Court may include in its calculation fees reasonably incurred in litigating sanctions.
   Mike Ousley Productions, Inc. v. WJBF-TV, et al., 952 F.2d 380, 383-84 (11th Cir. 1992).
   22
      Defendant should have filed billing records with subtotals and a grand total, rather than
   leaving this task for the Court.

                                                   19
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   Defendant claims an additional approximate $53,000 in fees. Thus, the total fees are

   about $91,000.

           Plaintiffs counsel filed two documents in response to Defendant's billing records.

   First, a "Notice" in which it asks the Court to reduce any fee award by the full amount of

   fees Defendant devoted to preparing its sanctions motions, which Plaintiffs counsel also

   calculates to be about $38,000. [DE 95]. Second, Plaintiffs counsel filed a memorandum

   that critiques defense counsel's hourly rates, billed time, and the quality and originality of

   defense counsel's legal work, and also, once again, improperly restates arguments they

   already made why this Court should not impose monetary sanctions. [DE 96].

           I have thoroughly considered this record, and make the following findings and

   recommendation.

        B. Amount of attorneys' fees

           Rule 11 authorizes this Court to impose on Plaintiffs counsel "part or all of the

   reasonable attorneys' fees ... directly resulting from the violation." F.R.Civ.P. ll(c)(4).

   The violation here was the one-count, single-theory Complaint and all legal fees

   Defendant incurred in this lawsuit (with the exception of the exclusion already noted)

   resulted from that Complaint. 23




   23
      There is considerable precedent for shifting to plaintiffs counsel defense attorneys' fees
   incurred from the outset of a lawsuit, when the complaint violated Rule 11. See e.g., Cook-
   Benjamin v. MHM Correctional Services, Inc., 571 Fed. App'x 944 (11th Cir. 2014); Silva,
   supra, 2017 WL 2189620; Palacio v. Empire Academy, Inc., Case No. 15-21163-Civ-
   Scola/Otazo-Reyes, 2016 WL 10568066 (S.D. Fla. Dec. 13, 2016), Report and Recommendation
   adopted, 2017 WL 5308334 (S.D. Fla. Mar. 13, 2017).


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           Courts typically employ the lodestar method to determine a reasonable attorneys'

   fee. This entails multiplication of the reasonable number of hours expended on the

   litigation by the reasonable hourly rate. Norman v. Housing Auth. of City of Montgomery,

   836 F.2d 1292, 1299 (11th Cir. 1988). A reasonable hourly rate is the prevailing market

   rate in the relevant legal community for similar services by lawyers of reasonably

   comparable skills, experience and reputation.ld. Courts will not award fees for excessive,

   redundant or unnecessary work, and they look for fee records that demonstrate good

   "billing judgment." Hensley v. Eckerhart, 461 U.S. 424, 434 (1983); Norman, 836 F.2d at

   1301.

           The court is itself an expert and may consider its own knowledge and experience

   concerning reasonable and proper fees and may form an independent judgment, as to the

   reasonableness of the fee request. Norman, 836 F.2d at 1303. In the end, a court's

   "computation of a fee award is necessarily an exercise of judgment, because ' [t ]here is no

   precise rule or formula for making these determinations."' Villano v. City of Boynton

   Beach, 254 FJd 1302, 1305 (11th Cir. 2001) (quoting Hensley, 461 U.S. at 436).

           For a number of reasons, it is difficult to arrive at a precise amount here that

   represents "the reasonable attorney's fees ... directly resulting from the violation." Fed.

   R. Civ. P. 11(c)(4) (emphasis added). Regarding the hours billed, defense counsel used

   block-billing, and many of their billing entries have vague language, which makes it

   difficult to evaluate whether the time devoted to tasks was reasonable, or perhaps

   excessive or redundant. One billing record, an invoice dated June 14, 2016, is incomplete.



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   [DE 94-1, at p. 41]. Further, some entries appear to be for clerical tasks that the Court

   should not compensate at an attorney or paralegal rate.

            As for the hourly billing rates, they varied over time. The paralegal hourly rates

   range from $185 to $215, which this Court considers unacceptably high. The associate

   hourly rates range from $320 to $375, and the partner rates range from $395 to $455. The

   Court recognizes that there are attorneys in this community who charge comparable

   hourly rates in defending FLSA actions. In this Court's estimation, however, Defendant's

   counsel's meritless arguments to recover fees under Florida Statute §57.105, and for

   appellate attorneys' fees, indicate their work should be compensated at lower hourly

   rates.

            Although any attorney fee award should exclude fees incurred making those

   meritless arguments, the Court cannot to do this with mathematical certainty since the

   billing records do not track that time. I have re-reviewed the Renewed Motion for

   Sanctions and note that well less than a third of the motion addresses this argument. The

   argument, however, is almost entirely redundant of Defendant's Rule 11 argument, as the

   Florida Statute is essentially a restatement of Rule 11. Thus, it would not appear that it
                                                                                              24
   took much additional work, or legal fees, to include that argument in the Motion.

            On this record, it would be a misguided use of judicial resources to engage in a

   line-by-line analysis of defense counsel's billing records. Trial courts may account for

   needed reductions of claimed attorneys' fees by making an across-the-board reduction.

   24
      Defendant's claim to recover appellate fees is a brief statement that accounts for little attorney
   time. [DE 86, at p. 6- 7].

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   See Loranger v. Stierheim, 10 F.3d 776, 783 (lith Cir. 1994); Bivins v. Wrap It Up, Inc.,

   548 F.3d 1348, 1350 (11th Cir. 2008). This approach is particularly appropriate here,

   where the purpose of an attorney fee award is to deter counsel from future Rule 11

   violations; it is not to accurately and fully compensate Defendant for its legal fees.

          In the context of this highly discretionary decision, I recommend that the Court

   order Plaintiff's counsel to pay Defendant $60,000 as partial compensation of

   Defendant's claimed attorneys' fees. This represents an approximate one-third reduction

   of the $91,000 in fees Defendant claims. This reduction reasonably accounts for the

   deficiencies in defense counsel's billing records and legal work, and eliminates any

   compensation for their meritless arguments. 25

   V.   Recommendation

          I respectfully recommend that the Court, pursuant to its authority under Rule

   ll(c)(l), order Jamie H. Zidell and the J.H. Zidell, P.A., to pay Defendant $60,000, as a

   sanction for Plaintiff's counsel's violation of Rule ll(b).

   VI. Objections

          No    later   than   fourteen     days    from    the   date   of this     Report    and

   Recommendation the parties may file any written objections to this Report and

   Recommendation with the Honorable K. Michael Moore, who is obligated to make a de

   novo review of only those factual findings and legal conclusions that are the subject of
   25
     I note that the Court, in fashioning a monetary award under Rule 11, must consider Plaintiff's
   counsel's ability to pay. Baker, 158 F.3d at 528; Bullard v. Downs, 161 Fed. App'x 886, 887
   (11th Cir. 2006). In their multiple filings on the subject of sanctions, Plaintiff's counsel have
   never suggested they are unable to pay the fees Defendant has claimed.



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   objections. Only those objected-to factual findings and legal conclusions may be

   reviewed on appeal. See Thomas v. Arn, 474 U.S. 140 (1985), Henley v. Johnson, 885

   F.2d 790, 794 (lith Cir. 1989), 28 U.S.C. § 636(b)(l), 11th Cir. R. 3-1 (2016).

          RESPECTFULLY RECOMMENDED in chambers at Miami, Florida this 20th

   day of July, 2018.



                                            (]L, 'YYL'?X·t~
                                            CHRIS MCALILEY
                                            UNITED STATES MAGISTRATE JUDGE


   Copies to:    The Honorable K. Michael Moore
                 Counsel of record




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